                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
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 IMMIGRANT DEFENSE PROJECT; and CENTER FOR
 CONSTITUTIONAL RIGHTS,

                        Plaintiffs,

                 v.                                                 Case No. 20-cv-10625 (RA)

 UNITED STATES IMMIGRATION AND CUSTOMS
 ENFORCEMENT; UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY,

                   Defendants.
 ________________________________________________

           DECLARATION OF ANDREW WACHTENHEIM IN SUPPORT OF
                           PLAINTIFFS’ REPLY


       I, Andrew Wachtenheim, declare, pursuant to 28 U.S.C. § 1746 and subject to the

penalties of perjury, that the following is true and correct:

   1. Attached as Exhibit 18 is a true and correct copy of the August 13, 2020 administrative

       appeal filed by Plaintiffs of Defendant DHS’s denial of Plaintiffs’ request for expedited

       processing of their FOIA request, as well as a true and correct copy of Defendant DHS’s

       denial of said administrative appeal, dated September 11, 2020.

   2. Attached as Exhibit 19 is a true and correct copy of Bates Nos. 793-794, produced to

       Plaintiffs by Defendants in this litigation.

   3. Attached as Exhibit 20 is a true and correct copy of Bates Nos. 795-796, produced to

       Plaintiffs by Defendants in this litigation.
   4. Attached as Exhibit 21 is a true and correct copy of FOIA request filed by Plaintiffs to

       U.S. Customs and Border Protection on May 24, 2022 via web portal and then again on

       May 25, 2022 via Federal Express.

   5. Attached as Exhibit 22 is a true and correct copy of CBP’s May 25, 2022 and June 7,

       2022 denials of Plaintiffs’ FOIA request to CBP.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Dated: June 13, 2022

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                                                             Andrew Wachtenheim




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